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                                      June 25, 2021

VIA CM/ECF

Honorable Vincent L. Briccetti
United States District Judge
United States District Court for the Southern District of New York
300 Quarropas Street, Room 630
White Plains NY 10601

              RE: Charon Coins, LLC v. Sonea Griffiths, No. 7:21-cv-2777 (VB)
                  Consent Motion for Leave to Serve Subpoenas Duces Tecum

Honorable Judge Briccetti,

       Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff Charon Coins, LLC, (“Charon”),
respectfully requests the Court grant leave to serve a subpoenas duces decum on BMO
Harris Bank, N.A. (“BMO”) and TD Bank, N.A. (“TD”). That rule permits discovery
prior to the parties’ initial discovery conference “when authorized by … court order.”

         As discussed during today’s status conference, this case arises out of Plaintiff’s
selling $258,000 of Bitcoin to Defendant Sonea Griffiths. Although Ms. Griffiths
initially made payment, Charon’s agent’s bank, BMO, claimed to receive a “fraud
affidavit.” As a result, BMO froze the account and reportedly returned the purchase
money to TD Bank. At present, the parties do not know (a) the source or content of
the fraud affidavit or (b) the disposition of the funds BMO claims it returned to TD.
Accordingly, both parties will benefit from the proposed discovery intended to reveal
the current custodian of the purchase funds. Ms. Griffiths communicated her consent
to the within Motion during today’s status conference. Accordingly, Charon respectfully
requests its Motion be granted. A proposed form of order is attached hereto.

                                                Respectfully submitted,
                                                /s/ Steven M. Oster
                                                Steven M. Oster (PHV Admission)
                                                Counsel to Plaintiff Charon Coins, LLC

    Admitted in D.C. Only
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                             CERTIFICATE OF SERVICE

       This will certify the attached Letter Motion was served by electronic mail on the

defendant, Sonea Griffiths at her residence:

       Sonea Griffiths
       151 Park Avenue
       Mt. Vernon, NY 10550
       Soneasing@gmail.com

June 25, 2021                                  /s/ Steven M. Oster
                                               Steven M. Oster
